        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAKOTA HOLT,                           )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
vs.                                    )
                                       )       FILE No. _____________________
DESH ENTERPRISES, INC.,                )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, DAKOTA HOLT, by and through the undersigned counsel,

and files this, his Complaint against Defendant DESH ENTERPRISES, INC.

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                                 JURISDICTION

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.




                                           1
         Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 2 of 12




                                     PARTIES

       2.     Plaintiff DAKOTA HOLT (hereinafter “Plaintiff”) is, and has been at

all times relevant to the instant matter, a natural person residing in Kennesaw,

Georgia (Fulton County).

       3.     Plaintiff is disabled as defined by the ADA.

       4.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and/or pinching.

       5.     Plaintiff uses a wheelchair for mobility purposes.

       6.     Defendant DESH ENTERPRISES, INC. (hereinafter “Defendant”) is

a Georgia corporation that transacts business in the state of Georgia and within this

judicial district.

       7.     Defendant may be properly served with process via its registered

agent for service, to wit: Ravinder S. Tuteja, 4360 Roswell Road, Marietta,

Georgia 30062.

                           FACTUAL ALLEGATIONS

       8.     On or about August 9, 2018, Plaintiff was a customer at “Citgo #16

Food Mart,” a business located at 4360 Roswell Road, Marietta, Georgia 30062.

       9.     Defendant is the owner or co-owner of the real property and


                                          2
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 3 of 12




improvements that the Facility is situated upon and that is the subject of this action.

(The structures and improvements situated upon said real property shall be

referenced herein as the “Facility,” and said real property shall be referenced

herein as the “Property”).

      10.     Plaintiff lives in the near vicinity of the Facility and Property.

      11.     Plaintiff’s access to the business located at 4360 Roswell Road,

Marietta, Georgia 30062, Cobb County Property Appraiser’s parcel number

16089900280 (“the Property”), and/or full and equal enjoyment of the goods,

services, foods, drinks, facilities, privileges, advantages and/or accommodations

offered therein were denied and/or limited because of his disabilities, and he will

be denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      12.     Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility once the Facility and Property are made

accessible.

      13.     Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      14.     Plaintiff travelled to the Facility and Property as a customer,


                                            3
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 4 of 12




encountered the barriers to access at the Facility and Property that are detailed in

this Complaint, engaged those barriers, suffered legal harm and legal injury, and

will continue to suffer such harm and injury as a result of the illegal barriers to

access present at the Facility and Property.

                              COUNT I
                  VIOLATIONS OF THE ADA AND ADAAG

      15.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      16.    The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      17.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      18.    The Facility is a public accommodation and service establishment.

      19.    The Property is a public accommodation and service establishment.

      20.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      21.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

                                          4
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 5 of 12




employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      22.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      23.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      24.    Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

but could not fully do so because of his disabilities resulting from the

physical barriers to access, dangerous conditions and ADA violations that exist at

the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      25.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer in order to utilize all of the goods, services, facilities,

privileges, advantages and/or accommodations commonly offered at the Facility

and Property, but will be unable to fully do so because of his disability and the

physical barriers to access, dangerous conditions and ADA violations that exist at


                                          5
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 6 of 12




the Facility and Property that preclude and/or limit his access to the Facility and

Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

      26.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      27.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      28.    A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:


                                           6
  Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 7 of 12




(a)     ACCESSIBLE ELEMENTS:

(i)     The credit card processing equipment and/or actuators on

        the gas pumps servicing the Property are at a height

        exceeding 54 (fifty-four) inches from the ground, in

        violation of section 308.3.1 of the 2010 ADAAG

        standards.

(ii)    The accessible parking space on the Property has a cross-

        slope in excess of 1:48 (one to forty-eight), in violation

        of section 502.4 of the 2010 ADAAG standards.

(iii)   The access aisle adjacent to the accessible parking space

        on the Property is not level due to the presence of a ramp

        within the boundaries of said access aisle, in violation of

        section 502.4 of the 2010 ADAAG standards.

(iv)    There is an excessive vertical rise at the base of the

        accessible ramp on the Property, in violation of section

        303.2 of the 2010 ADAAG standards.

(v)     The side flares of the above-described ramp have a slope

        in excess of 1:10 (one to ten), in violation of section


                                    7
  Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 8 of 12




        406.3 of the 2010 ADAAG standards.

(vi)    The vertical reach to multiple beverage and other self-

        service dispensers in the Facility exceeds the maximum

        permissible reach ranges set forth in section 308.3.1 of

        the ADAAG standards.

(vii) Due to an apparent policy of storing inventory and other

        items within the accessible routes within the Facility,

        those routes lack 36 (thirty-six) inches of clear width, in

        violation of section 403.5.1 of the 2010 ADAAG

        standards.

(b)     RESTROOMS:

(i)     The doors to the restroom in the Facility require an

        opening force in excess of 5 (five) pounds, in violation of

        section 309.4 of the 2010 ADAAG standards.

(ii)    Further, the doors to the restrooms in the Facility, upon

        exiting, lacks a proper minimum maneuvering clearance,

        in violation of section 404.2.4 of the 2010 ADAAG

        standards.

(iii)   The grab bars/handrails adjacent to the commodes in the


                                    8
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 9 of 12




             restrooms in the Facility are not positioned in accordance

             with sections 604.5 and 609.4 of the 2010 ADAAG

             standards. Specifically, the rear grab bars do not extend

             24 (twenty-four) inches past the centerline of said

             commodes.

      (iv)   The lavatories and/or sinks in the restrooms in the

             Facility have exposed pipes and surfaces that are not

             insulated or configured to protect against contact with the

             skin, in violation of section 606.5 of the 2010 ADAAG

             standards.

      (v)    Due to the obstructive positioning of affixed dispensers

             in the restrooms in the Facility the sink lacks sufficient

             clear floor space, in violation of section 606.2 of the

             2010 ADAAG standards.

      29.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      30.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property


                                         9
       Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 10 of 12




in violation of the ADA.

      31.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      32.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      33.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      34.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      35.   Upon information and good faith belief, the Facility and Property

have been altered since 2010.

      36.   In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.


                                         10
       Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 11 of 12




      37.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      38.    Plaintiff’s requested relief serves the public interest.

      39.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      40.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      41.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Defendant in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing its discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Facility and


                                          11
        Case 1:18-cv-05084-MLB Document 1 Filed 11/02/18 Page 12 of 12




             Property to make it readily accessible to and useable by individuals

             with disabilities to the extent required by the ADA;

      (d)    That the Court award Plaintiff’s counsel reasonable attorneys' fees,

             litigation expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable

             in light of the circumstances.

                                       Dated: November 2, 2018.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
                                       The Law Office of Craig J. Ehrlich, LLC
                                       1123 Zonolite Road, N.E., Suite 7-B
                                       Atlanta, Georgia 30306
                                       Tel: (800) 238-3857
                                       Fax: (855) 415-2480
                                       craig@ehrlichlawoffice.com

        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich

                                         12
